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     Rechercher  une  entreprise  au  registre
       
     État  de  renseignements  d'une  personne  morale  au  registre  des  entreprises

          Renseignements  en  date  du  2015-­11-­04  15:10:52


     État  des  informations

          Identification  de  l'entreprise


          Numéro  d'entreprise  du  Québec  (NEQ)                            1163644314

          Nom                                                                MAXIMUM  APPS  INC.



          Adresse  du  domicile


          Adresse                                                             4104-­1751  rue  Richardson
                                                                              Montréal  (Québec)  H3K1G6
                                                                              Canada


          Adresse  du  domicile  élu


          Adresse                                                             Aucune  adresse




          Immatriculation


          Date  d'immatriculation                                            2006-­04-­11

          Statut                                                             Immatriculée

          Date  de  mise  à  jour  du  statut                                2006-­04-­11

          Date  de  fin  de  l'existence                                     Aucune  date  de  fin  d'existence  n'est  déclarée  au
                                                                             registre.


          Forme  juridique


          Forme  juridique                                                   Société  par  actions  ou  compagnie

          Date  de  la  constitution                                         2005-­11-­25  Constitution

          Régime  constitutif                                                CANADA  :  Loi  canadienne  sur  les  sociétés  par  actions,
                                                                             L.R.C.  (1985)  c.  C-­44
          Régime  courant                                                    CANADA  :  Loi  canadienne  sur  les  sociétés  par  actions,

https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU_RechEnt_PC/PageEtatRens.aspx?T1.JetonStatic=769c59ba-­6872-­4…      1/4
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                                                                             L.R.C.  (1985)  c.  C-­44


          Dates  des  mises  à  jour


         Date  de  mise  à  jour  de  l'état  de  renseignements             2015-­06-­05

         Date  de  la  dernière  déclaration  de  mise  à  jour              2014-­05-­28  2013
         annuelle

         Date  de  fin  de  la  période  de  production  de  la              2016-­06-­01
         déclaration  de  mise  à  jour  annuelle  de  2015

         Date  de  fin  de  la  période  de  production  de  la              2015-­06-­01
         déclaration  de  mise  à  jour  annuelle  de  2014



          Faillite


         L'entreprise  n'est  pas  en  faillite.


          Fusion  et  scission


         Aucune  fusion  ou  scission  n'a  été  déclarée.


          Continuation  et  autre  transformation


         Aucune  continuation  ou  autre  transformation  n'a  été  déclarée.


          Liquidation  ou  dissolution


         Aucune  intention  de  liquidation  ou  de  dissolution  n'a  été  déclarée.


          Activités  économiques  et  nombre  de  salariés

          1er  secteur  d'activité


         Code  d'activité  économique  (CAE)                                 7721

         Activité                                                            Services  d'informatique

         Précisions  (facultatives)                                          -­



          2e  secteur  d'activité


         Aucun  renseignement  n'a  été  déclaré.


          Nombre  de  salariés


         Nombre  de  salariés  au  Québec

         Aucun


     Convention  unanime,  actionnaires,  administrateurs,  dirigeants  et  fondé  de  pouvoir

          Actionnaires
https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU_RechEnt_PC/PageEtatRens.aspx?T1.JetonStatic=769c59ba-­6872-­4…      2/4
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         Premier  actionnaire
         Le  premier  actionnaire  est  majoritaire.

         Nom                                                                 GFL  Groupe  Financier  Logistique  Inc.

         Adresse                                                             4104-­1751  rue  Richardson  Montréal  (Québec)  H3K1G6
                                                                             Canada


          Convention  unanime  des  actionnaires


         Il  n'existe  pas  de  convention  unanime  des  actionnaires.


          Liste  des  administrateurs


         Nom                                                                 VALIQUETTE,  FRÉDÉRIC

         Date  du  début  de  la  charge

         Date  de  fin  de  la  charge

         Fonctions  actuelles                                                Président,  Secrétaire,  Trésorier

         Adresse                                                             4104-­1751  rue  Richardson  Montréal  (Québec)  H3K1G6
                                                                             Canada


          Dirigeants  non  membres  du  conseil  d'administration


         Aucun  dirigeant  non  membre  du  conseil  d'administration  n'a  été  déclaré.


          Fondé  de  pouvoir


         Aucun  fondé  de  pouvoir  n'a  été  déclaré.


          Administrateurs  du  bien  d'autrui


         Aucun  administrateur  du  bien  d'autrui  n'a  été  déclaré.


     Établissements

         Aucun  établissement  n'a  été  déclaré.


          Documents  en  traitement


         Aucun  document  n'est  actuellement  traité  par  le  Registraire  des  entreprises.


     Index  des  documents

          Documents  conservés

     Type  de  document                                                                       Date  de  dépôt  au  registre
     Déclaration  de  mise  à  jour  courante                                                 2015-­06-­05
     DÉCLARATION  DE  MISE  À  JOUR  ANNUELLE  2013                                           2014-­05-­30
     Déclaration  de  mise  à  jour  courante                                                 2013-­09-­09

https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU_RechEnt_PC/PageEtatRens.aspx?T1.JetonStatic=769c59ba-­6872-­4…      3/4
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     Déclaration  de  mise  à  jour  courante                                                     2013-­08-­21
     DÉCLARATION  DE  MISE  À  JOUR  ANNUELLE  2012                                               2013-­05-­08
     DÉCLARATION  DE  MISE  À  JOUR  ANNUELLE  2011                                               2012-­06-­19
     Déclaration  annuelle  2010                                                                  2011-­05-­10
     Déclaration  modificative                                                                    2010-­12-­22
     État  et  déclaration  de  renseignements  2009                                              2009-­12-­08
     État  et  déclaration  de  renseignements  2008                                              2009-­02-­02
     État  et  déclaration  de  renseignements  2007                                              2008-­05-­30
     Déclaration  modificative                                                                    2006-­12-­18
     Déclaration  d'immatriculation                                                               2006-­04-­11

     Index  des  noms

         Date  de  mise  à  jour  de  l'index  des  noms                     2010-­12-­22


          Nom


                Nom                Versions  du  nom  dans              Date  de                  Date  de  déclaration  du Situation
                                     une  autre  langue              déclaration  du                  retrait  du  nom
                                                                          nom
          MAXIMUM                                                  2010-­12-­22                                                   En
          APPS  INC.                                                                                                              vigueur
          PILULES       MAXIMUN  PILLS  INC.                       2006-­04-­11              2010-­12-­22                         Antérieur
          MAXIMUM  INC.


          Autres  noms  utilisés  au  Québec


         Aucun  autre  nom  utilisé  au  Québec  n'a  été  déclaré.



                                                        ©  Revenu  Québec,  2015




https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU_RechEnt_PC/PageEtatRens.aspx?T1.JetonStatic=769c59ba-­6872-­4…      4/4
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    WHOIS-­RWS



You  searched  for:  206.125.164.82

  Network

  Net  Range                          206.125.164.80  -­  206.125.164.95

  CIDR                                206.125.164.80/28

  Name                                MAA-­NET-­01

  Handle                              NET-­206-­125-­164-­80-­1

  Parent                              OPC-­NET-­01  (NET-­206-­125-­164-­0-­1)

  Net  Type                           Reassigned

  Origin  AS                          AS46609

  Customer                            MAXIMUM  APPS  INC.  (C03138336)

  Registration  Date                  2012-­09-­06

  Last  Updated                       2012-­09-­06

  Comments

  RESTful  Link                       https://whois.arin.net/rest/net/NET-­206-­125-­164-­80-­1

  See  Also                           Upstream  network's  resource  POC  records.

  See  Also                           Upstream  organization's  POC  records.

  See  Also                           Related  delegations.




  Customer

  Name                                   MAXIMUM  APPS  INC.

  Handle                                 C03138336

  Street                                 PO  BOX  4011
                                         SUCC  D

  City                                   MONTREAL

  State/Province                         QC

  Postal  Code                           H3C-­0J7

  Country                                CA

  Registration  Date                     2012-­09-­06

  Last  Updated                          2013-­11-­19

  Comments

  RESTful  Link                          https://whois.arin.net/rest/customer/C03138336

  See  Also                              Upstream  network's  resource  POC  records.

  See  Also                              Upstream  organization's  POC  records.




  Point  of  Contact
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Name                     Admin

Handle                   ADMIN4951-­ARIN

Company                  Technologie  Optic.Ca

Street                   1751  richardson  suite  4.104

City                     Montreal

State/Province           QC

Postal  Code             H3K  1G6

Country                  CA

Registration  Date       2013-­10-­22

Last  Updated            2015-­09-­14

Comments

Phone                    +1-­888-­978-­6470  (Office)

Email                    info@optic.ca

RESTful  Link            https://whois.arin.net/rest/poc/ADMIN4951-­ARIN




Point  of  Contact

Name                     ABUSE

Handle                   ABUSE3961-­ARIN

Company                  Technologie  Optic.ca

Street                   1751  Richardson,  Suite  4.104

City                     Montreal

State/Province           QC

Postal  Code             H3K  1G6

Country                  CA

Registration  Date       2013-­10-­22

Last  Updated            2015-­10-­22

Comments

Phone                    +1-­888-­978-­6470  (Office)

Email                    abuse@optic.ca

RESTful  Link            https://whois.arin.net/rest/poc/ABUSE3961-­ARIN




Point  of  Contact

Name                     SYSADMIN

Handle                   SYSAD120-­ARIN

Company                  Technologie  Optic.ca

Street                   1751  Richardson,  Suite  4.104

City                     Montreal

State/Province           QC

Postal  Code             H3K  1G6
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Country                  CA

Registration  Date       2013-­10-­22

Last  Updated            2015-­09-­14

Comments

Phone                    +1-­888-­978-­6470  (Office)

Email                    sysadmin@optic.ca

RESTful  Link            https://whois.arin.net/rest/poc/SYSAD120-­ARIN
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      Case 1:15-cv-22463-MGC
11/2/2015                                 Document 64-1Affiliate  Terms  and  Conditions
                                                           Entered on FLSD Docket 11/05/2015 Page 37 of 66
                                              AFFILIATE TERMS AND CONDITIONS

This Affiliate Terms and Conditions Agreement (the "Agreement") is entered into by the Affiliate (hereinafter referred to as the
"Affiliate," "You," and/or "Webmaster") and MG Content RK Limited, a corporation duly incorporated under the laws of Ireland,
doing business as "NastyDollars.com." (hereinafter referred to as "NastyDollars") relating to your use of and participation in the
NastyDollars affiliate advertising program (the "Program" or "Referral Program").

Notice to Affiliates

        You may not use any illegal content to promote any product or site connected to Nasty Dollars in anyway (collectively, the
        "NastyDollars Sites", individually each a "NastyDollars Site") nor may you allow advertising for NastyDollars to be placed on
        any webpages which condone any illegal activity. Illegal activity includes any content and/or activity which may run afoul of any
        law, rule or regulation in the United States of America and/or the location where you are located such as, without limitation and
        by way of example only, child pornography/exploitation, rape/brutality, incest, bestiality, necrophilia, drugging/incapacitation,
        blood/mutilation, death, or snuff. In the event that we believe, in our sole and absolute direction, that you are promoting any
        NastyDollars Site or Sites in violation of this Agreement, your account with NastyDollars will be immediately terminated and all
        moneys which would have otherwise been payable to you hereunder will be deemed surrendered by you in partial payment of the
        damages arising from your breach. As and when NastyDollars is alerted to any content it considers, in its sole and exclusive
        opinion, to be questionable NastyDollars may either terminate the responsible Affiliate as set forth above or provide the
        responsible Affiliate with a grace period determined by NastyDollars to remove objectionable material;;

        Affiliates whose urls are not functional, whose traffic immediately redirects to another url or do not have content may be
        considered in violation of this Agreement.

        Once your Affiliate account is active, note that any urls submitted may be subject to review and any such review, if undertaken,
        may result in closure of your account and forfeiture of moneys otherwise due to you if the review shows you have violated any
        term of this Agreement . Failure to do so may result in the suspension of your Affiliate relationship. Furthermore any urls that
        you choose to send traffic from must be communicated to your Affiliate manager. Failure to do so may result in the closure of
        your account.

        The acquisition of any domain name(s) or URL(s) that incorporate or are confusingly similar to any of the trademarks, service
        marks, or URLs owned by or under common ownership with NastyDollars, including, but not limited to, words or URLs such as
        "Reality Kings", "Brazzers", "Mofos", "Wicked" and/or "Twisty's " or any other related trademarks, service marks, or URLs
        owned by or under common ownership with NastyDollars, as may be changed, updated and/or added to from time to time, is
        expressly prohibited. In the event that you do not comply with this notice, NastyDollars.com's shall be entitled to reduce or
        cease the payout or payment amount otherwise due to Affiliate accordingly.

By clicking on 'I accept' and 'create account', the Affiliate is entering into this legal Agreement with NastyDollars and affirmatively
stating that the Affiliate has read, understands and accepts the Agreement in its entirety without objection and as such agrees to be
bound by the terms and conditions set forth herein. Affiliate cannot become a member of the NastyDollars Affiliate Program unless
accepting each and every term and condition herein.

    1. The Program provides each Affiliate with the ability to earn money for each new subscription purchase made by a new customer
       if such customer makes a purchase immediately after clicking on an advertisement placed by the applicable Affiliate and such
       advertisement contains the Affiliate's unique code with NastyDollars, often called an "affiliate code". Each such sale, which also
       complies with all terms of this Agreement, is referred to herein as a "Subscription" or a "Qualified Sale".

    2. By signing up to the Program, and by supplying NastyDollars with all the required information to sign up with the Program, the
       Affiliate is acknowledging that the Affiliate has read and agreed to all of the terms and conditions, promises, warranties, duties
       and obligations set forth in this Agreement and agrees to be bound by the terms thereof.

    3. In order to enroll and participate as a Webmaster in the Program, the Affiliate must be over eighteen (18) years of age and/or
       over the age of majority if residing and/or conducting business in a location where the age of majority is greater than eighteen
       (18) years of age (such minimal age requirement is referred to herein, as applicable, the "Age of Majority"). The Affiliate may not
       participate in the Program in any manner if not the Age of Majority. If Affiliate is a corporation or any other legal entity, all of its
       shareholders, partners and directors must be at least the Age of Majority. If at any time, NastyDollars discovers that an Affiliate
       is under the Age of Majority, the Affiliate's account shall be cancelled and all monies due will be forfeited as partial damages for
       violation(s) of the terms and conditions of the Agreement.)

    4. Affiliate must be the owner of the website or the individual vested with the authority to enter into contracts on behalf of the
       entity that owns the rights to any website submitted by Affiliate to Program.

http://www.nastydollars.com/terms.htm                                                                                                       1/5
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    5. The Agreement and the provisions hereof, shall be in full force and effect commencing on the date the Affiliate's account is
       created and exist until terminated by either party in accordance with the provisions set forth herein subject to Program's right to
       revise the terms of this Agreement at any time. Program shall have the right to amend any or all of the terms of this Agreement
       at any time without notice and Affiliate hereby agrees to regularly review this Agreement. Participation in the Program (whether
       by logging in to the Program or sending a Qualified Sale) following the posting of a revised Agreement shall constitute Affiliate's
       agreement to fully comply with such revised terms.

    6. All payments are made in U.S. dollars ("USD").

Webmaster Referral Program

    7. NastyDollars will pay Affiliate two hundred dollars ($200) per "active webmaster" referred to the Program ("Webmaster Referral
       Program"). As used herein, an "active webmaster" is defined as a webmaster that has sent a small number of customer signups
       (the number is randomly between 4-8 to prevent fraud) to the NastyDollars Sites within a six week period. Family members are
       not eligible as referrals and any attempt to "cheat" the Program will result in immediate account termination.

Affiliate Program

    8. Webmasters may opt to be paid either (i) through a revenue share model wherein Webmasters receive a percentage of all moneys
       received by NastyDollars in connection with the Valid Subscriptions (as defined in Secion 9 below), less all associated costs and
       fees (the "Rev-Share Program");; or, (ii) a flat amount per new Valid Subscription without regard to renewal Subscriptions (the
       "Flat Fee Program"). For Webmasters who elect to be participate in the Flat Fee Program and send fewer than one hundred fifty
       (150) Valid Subscriptions in the applicable Pay Period (as defined in Section 11 below), Program will pay such Webmaster thirty-
       five dollars ($35.00) per Valid Subscription. For Webmasters who elect to be participate in the Flat Fee Program and send
       between one hundred fifty and two hundred ninety-nine (150-299) Valid Subscriptions in the applicable Pay Period, Program will
       pay such Webmaster forty-five dollars ($45.00) per Valid Subscription. For Webmasters who elect to be participate in the Flat
       Fee Program and send more than three hundred (300) Valid Subscriptions in the applicable Pay Period, Program will pay such
       Webmaster fifty-five dollars ($55.00) per Valid Subscription. All payments made hereunder to Affiliate for Valid Subscriptions is
       referred to herein as a "Payout". Should a Webmaster opt to participate in the Flat Fee Program, any and all Valid Subscriptions
       paid by way of a payment method that does not support ongoing recurring billing, including but not limited to prepaid cards and
       gift cards, shall nevertheless be subject to the Rev-Share Program.

        By joining the Program, you understand and agree that the ability to offer certain promotions and participation in the Flat Fee
        Program may be contingent upon minimum and maximum thresholds which may be determined by Program, in its sole
        discretion, using multiple factors including, without limitation, trial to paid membership ratios, conversion ratios, chargeback
        numbers, and traffic volume. The Program reserves the right to modify any such special pricing at any time and/or to eliminate
        such special pricing (either as a whole or on a Webmaster by Webmaster basis), change you from the Flat Fee Program to the
        then current Rev-Share Program and/or to terminate you at any time. The Program will notify you of such changes either by
        email or through posting changes in your account with Program.

        From time to time, Program may offer to Webmasters a "bonus day" which may include a different (or larger) per sign-up
        commission for up to a maximum of twenty (20) Subscriptions on a bonus day unless otherwise posted by the bonus day rules.
        Once a Webmaster has reached 20 sign-ups on a bonus day, the amount paid to Webmaster per sign-up will go back to the level
        at which Webmaster is usually paid. You acknowledge and agree that these Payout levels may be changed at any time and that the
        posting of such change at least ten (10) days prior to such change taking effect shall be deemed adequate notice to you. In all
        circumstances, Program will only pay Webmaster for Valid Subscriptions.

        You understand and agree that any dispute or question you may have regarding the amount of any Subscription must be called to
        the attention of the Program within ninety (90) days of the issuance of payment for such Subscription (or, in the absence of a
        payment, when such payment would have normally been made) or all your rights with respect to such dispute shall be deemed
        permanently waived by you. Similarly, in the event that Program believes that any payments were made in excess of the amount
        due to you, Program shall bring such overpayment to your attention within ninety (90) days of such payment.

    9. A Valid Subscription is defined as a Subscription from a valid referral that does not result in a refund or reversal in the first 24
       hours of membership and/or does not otherwise violate any of the terms of this Agreement ("Valid Subscription").

   10. Affiliate acknowledges and agrees that the Referral Program and Webmaster Referral Programs Payouts and structure as outlined
       in Section 7, 8 and 9 are included for references purposes only and that such terms and conditions applicable to an Affiliate may
       differ as agreed to by the parties. Affiliate acknowledges and agrees that they shall not be entitled to a commission or referral fee
       for any and all referrals, which are in breach/violation of the terms of this Agreement. Affiliate also acknowledges and agrees
       they shall not be entitled to a commission or referral fee from NastyDollars.com for any subscription, which NastyDollars.com
       in its sole and unfettered discretion determines, is the result of possible fraudulent activity. More specifically, Affiliate

http://www.nastydollars.com/terms.htm                                                                                                     2/5
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        acknowledges and agrees that bidding on or purchasing any online paid advertising schemes or acquiring any domain names or
        URL's in XXX that incorporate or are confusingly similar to any of NastyDollars.com's trademarks, service marks, or URLs
        including, but not limited to words or URLs such as "Brazzers", "Mofos", "Wicked", "Reality Kings", and/or "Twisty's " or any
        other related trademarks, service marks, or URLs as determined by NastyDollars.com's in its sole discretion from time to time is
        hereby expressly prohibited. By way of example, such prohibited advertising schemes include pay- per-click models, sponsored
        links, search engine keywords, AdWords, or similar advertising schemes. In the event, that Affiliate does not comply with
        Section 10, NastyDollars.com shall be entitled to reduce or cease the Payout or payment amount otherwise due to Affiliate
        accordingly. In addition, family members and employees of the Affiliate are not eligible as Subscriptions and any attempt to refer
        ineligible individuals to the program will result in immediate account termination.

   11. NastyDollars.com reserves the right to determine the manner in which payments shall be processed. Payment for Subscriptions
       and Webmaster referrals will be issued thirty days after the end of each Pay Period. Generally pay periods are twice per month:
       from the 1st of the month to the 15th of the month and from the 16th of the month to the last day of the month ("Pay Period").

   12. Affiliate shall be solely responsible for the operation, development and general maintenance of Affiliate's website(s).

   13. NastyDollars may make videos, images, photographs, moving images and other promotional materials available to Affiliate (the
       "Promo Materials"). By providing or making available the Promo Materials, NastyDollars license such Promo Materials to you
       on a revocable, non-exclusive basis subject in all respects to your full compliance with this Agreement. NastyDollars may revoke
       your license to any and all of the Promo Materials at any time, with or without reason, by providing notice to the email account
       associated with your Program account. In the event that you do not fully and completely remove any and all Promo Materials
       within twenty-four (24) hours of notice of such revocation being sent to you, you will be in knowing violation of NastyDollars'
       copyright(s).

        In such event, NastyDollars may immediately terminate your account with the Program and all moneys otherwise due to you will
        be deemed forfeited as partial compensation for your violation of this Agreement. No Promo Materials may be copied,
        reproduced, altered, modified, changed, broadcast, distributed, transmitted, disseminated, sold or offered for sale in any manner
        except as expressly authorized in writing by NastyDollars.

   14. NastyDollars has a ZERO TOLERANCE policy relating to any illegal content, which includes child pornography (including any
       images sexualizing minors although they may not be unclothed), bestiality, rape, torture, snuff, death and/or any other type of
       obscene and/or illegal material ("Illegal Content"). Should Affiliate send individuals or cause individuals to be sent from any
       website, regardless of whether or not such website is owned or controlled by Affiliate, content which contains any Illegal
       Content, Affiliate's account shall be terminated without notice and all monies otherwise due to Affiliate will be forfeited as partial
       damages for violating of this Agreement. Further, NastyDollars reserves the right to report your conduct to any and all law
       enforcement departments and personnel it deems, in its exclusive opinion, to be appropriate.

   15. Below is a list of conduct which will result in the immediate termination of your account without notice and all moneys which
       would have otherwise been due to you being forfeited to NastyDollars as partial damages for violating the terms and conditions
       of the Agreement. You understand and agree that the below list is not intended to be and is not exhaustive. You further
       understand and agree that this list may be supplemented and/or otherwise modified at any time with or without prior notice.

            a. NastyDollars' good faith belief that you have violated any term of this Agreement;;

           b. Any unsolicited email or advertising text which is not fully compliant with all applicable laws which may apply including,
              without limitation, the CAN-SPAM Act of 2003 which you shall comply with regardless of your location.

            c. Uploading, distributing, using, posting or otherwise making available any Promo Content which has been edited, altered or
               in any way changed by you or anyone else.

            d. Affiliate's use of any deceptive, unfair and/or false advertising.

            e. Use of spyware or ad-ware or any other technology which sends information out from an internet user without the
               internet user's knowledge and permission.

            f. Any affiliate account which has, in NastyDollars' sole and exclusive opinion, an unusually high number of charge-backs
               and refunds.

            g. Any fraudulent activity in the Subscriptions, which may include, without limtation and subject to NastyDollars' revision at
               any time: one or more attempt to make a membership purchase with a credit card with a bin number listed in a negative
               bin number database;; where there have been sequential or multiple attempts to register or subscribe with a credit card
               using the same bin number or sequential or multiple number strings to complete the credit card number;; sudden surge in
               Subscriptions;; and/or multiple Subscription attempts from the same IP address.
http://www.nastydollars.com/terms.htm                                                                                                      3/5
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   16. Affiliate acknowledges and agrees that Affiliate's website(s) shall be in full compliance with Section 2257 of Title 18, United
       States Code, the "Records Keeping and Labeling Act" ("18 USC 2257") containing all information as required by 18 USC 2257.
       Affiliate further acknowledges that it has a legal obligation to comply with disclosure provisions of the Records Keeping and
       Labeling Act and shall identify a custodian of records and address for each and every image appearing on the Affiliate's website
       and/or comply with all amendments of 18 USC 2257. Affiliate warrants that all content on Affiliate's website(s) shall be
       compliant with 18 USC 2257 and all models were at least eighteen (18) years of age when content was created.

   17. Affiliate shall not use NastyDollars's images or videos for promotion of any third party website.

   18. NastyDollars.com does not accept traffic from any website that contains materials which constitutes any infringement,
       misappropriation or violation of any individual's or entity's intellectual property rights, including, but not limited to, copyrights,
       trademark rights, rights of publicity, patent rights, personal property rights, privacy rights, or any similar right(s). If you send
       individuals or cause individuals to be sent from any website, regardless of whether or not such website is owned or controlled by
       Affiliate, containing any of the foregoing, your account will immediately be terminate without notice and all monies due to you
       will be forfeited as partial damages for violation(s) of the terms and conditions of the Agreement.

   19. In the event that your account with the Program is terminated by NastyDollars due to what NastyDollars, in its sole discretion,
       believes to be a violation of the terms and conditions set forth herein, you may not re-apply to the Program without the prior
       written consent of NastyDollars.

   20. Failure by NastyDollars to enforce strict performance of any provision in the Agreement will not constitute a waiver of our right
       to subsequently enforce such provision or any other provision of this Agreement.

   21. The parties agree that this Agreement may not be assigned in any way by either party, provided, however, that NastyDollars may
       assign this Agreement without Affiliate's consent as a part of a sale of all or substantially all of its assets and/or in connection
       with a reorganization of NastyDollars. Subject to the foregoing restriction, the Agreement will be binding on and enforceable
       against parties and their respective, and permitted, successors and assigns.

   22. Affiliate acknowledges and agrees that nothing in this Agreement shall grant Affiliate any right of ownership whatsoever in
       NastyDollars' intellectual property.

   23. Affiliate agrees that it will not take any action or act in any manner that shall ruin, damage or otherwise impair the value and the
       goodwill associated with the NastyDollars brand and its property. Affiliate agrees not to use NastyDollars' proprietary marks in a
       manner that diminishes its value or portray their product in a negative manner.

   24. Should any law enforcement agency, internet service provider or other individual or entity provide NastyDollars with notice that
       an Affiliate has engaged in the transmission of unsolicited e- mails or have otherwise engaged in unlawful conduct or conduct in
       violation of any service provider's terms of service, NastyDollars reserves the right to cooperate in any investigation relating to
       your activities, including the disclosure of your Program account information.

   25. "Confidential Information" shall be defined as any information, oral or written, treated as confidential by a party that relates to
       either party's (or, if either party is bound to protect the confidentially of any other person's information, such other person's
       information) past, present or future research, development or business activities, including any unannounced product(s) and
       service(s) and including any information relating to services, trade secrets, intellectual property, developments, designs,
       inventions, processes, plans, financial information, customer and supplier lists, forecasts, and projections. Confidential
       Information shall also include the terms of this Agreement, any data, idea, technology, know-how, inventions, algorithms,
       process, technique, program, computer software, computer code, and related documentation, work-in-progress, future
       development, engineering, distribution, manufacturing, marketing, business, technical, financial or information relating to any
       actor or actress present or future products, sales, customers, employees, opportunities, markets or business in graphic text or
       electronic or any other form, that is treated as confidential by either party. The Affiliate agrees it shall not disclose of any
       Confidential Information to any third party and shall not use any or all of the Confidential Information for any purpose other
       than the performance of its obligations under this Agreement. Affiliate shall also take all and any reasonable precautions to
       prevent any unauthorized disclosure of Confidential Information by any of its Representatives.

   26. NastyDollars reserves the right to cancel this Program at any time.

   27. NastyDollars shall not be liable for any losses due to server downtime, net congestions and any and all similar and like
       occurrences or difficulties. You further agree that you shall be solely responsible for all costs incurred by you in connection with
       your participation in the Program, including by way of example only, internet access costs, server costs, advertising space
       purchases and domain registration costs.

   28. The parties to the Agreement shall not be liable or be considered in breach or default under the Agreement on account of delay
       or failure to perform as required by this Agreement as a result of any causes or conditions that are beyond the party's reasonable
http://www.nastydollars.com/terms.htm                                                                                                      4/5
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        control and that such party is unable to overcome through the exercise of commercially reasonable diligence, including but not
        limited to acts of God;; wars, riots, acts of civil or military authority, terrorism;; fire, flood, earthquakes, hurricanes, tropical
        storms or other natural disasters;; strikes, etc.

   29. The terms and conditions of this Agreement are subject to change by NastyDollars at any time in its sole discretion without prior
       notice. In NastyDollars' discretion, you may be provided reasonable notice of any such changes by e-mail to your address on our
       records or by posting the changes on the NastyDollars.com website and such shall be considered sufficient notice for notifying
       you of a modification to the terms and conditions of this Agreement. Modifications may include, but are not limited to, changes
       in the scope of available commission fees, commission schedules, payment procedures, and Program rules. Except as expressly
       set forth in other sections herein, all such modifications shall take effect 48 hours after we serve notice as provided above, unless
       we indicate otherwise. If any modification is unacceptable to you, your only recourse is to terminate this Agreement. Your
       continued participation in the Program, following Nasty Dollars' posting of a change notice or new and/or revised Agreement
       on NastyDollars.com, will constitute binding acceptance of the change and shall constitute confirmation of Webmaster's
       acknowledgement and assent to any such modifications. You affirm that you have read this Agreement and understand, agree
       and consent to its terms and conditions.

   30. Nothing in this Agreement shall be construed so as to create a relationship of partners, any partnership, joint venture, agency
       franchise, sales representative, or employment relationship between the parties. Affiliate will have no authority to make or accept
       any offers or representations on behalf of NastyDollars. Affiliate will not make any statement, whether on Affiliate's website(s)
       or otherwise, that would reasonably contradict anything in this Section. Affiliate is not an agent of NastyDollars and
       NastyDollars expressly disclaims responsibility for any conduct by Affiliate in violation of any term(s) of this Agreement. 31)
       NastyDollars will not be liable for indirect, special, or consequential damages, or any loss of revenue, profits, or data, arising in
       connection with this Agreement or the Affiliate Program, even if NastyDollars have been advised of the possibility of such
       damages.

        Furthermore, NastyDollars' aggregate liability arising with respect to this Agreement and the Affiliate Program will not exceed
        the total commissions paid or payable to the Affiliate under this Agreement.

   31. Affiliate hereby represents and warrants to NastyDollars that this Agreement has been duly and validly electronically executed
       and delivered by the Affiliate and constitutes said Affiliate's legal, valid and binding obligation, enforceable against Affiliate in
       accordance with its terms;; and that the execution, delivery and performance by the Affiliate of this Agreement are within
       Affiliate's legal capacity and power;; have been duly authorized by all requisite action on Affiliate's part;; requires the approval or
       consent of no other persons;; and neither violate nor constitute a default under the (i) provision of any law, rule, regulation,
       order, judgment or decree to which Affiliate are subject or which is binding upon Affiliate, or (ii) the terms of any other
       agreement, document or instrument applicable to Affiliate or binding upon the Affiliate.

   32. If any provision of this Agreement is found to be unenforceable, the remainder shall be enforced as fully as possible and the
       unenforceable provision shall be deemed modified to the limited extent required to permit its enforcement in a manner most
       closely representing the intention of the Parties as expressed herein.

   33. Affiliate hereby agrees to indemnify, defend and hold harmless NastyDollars, its shareholders, officers, directors, employees,
       agents ("Representatives"), affiliated entities and their Representatives, as well as other Webmasters, successors and assigns (the
       "Indemnified Parties"), from and against any and all claims, losses, liabilities, damages or expense (including attorneys' fees and
       costs) of any nature whatsoever incurred or suffered by the Indemnified Parties (collectively the "Losses"), in so far as such
       Losses (or actions in respect thereof) arise out of or are based on (i) any claim or threatened claim related to the use of any
       Affiliate's name, trademark, domain name or any claim related to any other alleged infringement of the rights of any third party;;
       (ii) the breach of any promise, covenant, representation or warranty made by the Affiliate herein;; or (iii) any claim whatsoever
       related to any Affiliate website(s).

   34. This Agreement shall be governed by and construed in accordance with the laws of Ireland without regard to conflicts of law
       principles. The sole and exclusive jurisdiction and venue for any action or proceeding arising out of or related to this Agreement
       shall be in an appropriate court located in Ireland. You hereby submit to the jurisdiction and venue of said Courts. You consent
       to service of process in any legal proceeding.




http://www.nastydollars.com/terms.htm                                                                                                      5/5
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                                 Exhibit
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  Terms  and  Conditions
  Last  Updated  Date:  August  28,  2014


  Welcome  to  Sex.com!
  Sex.com  is  an  online  service  that  allows  users  to  create,  view,  and  follow  visual  collections  (the
  "Services")  through  our  website;;  accessible  at  www.sex.com  (the  "Site").


  The  Site  allows  for  pinning,  uploading,  embed,  sharing  and  general  viewing  of  various  types  of
  content,  allowing  registered  and  unregistered  users  to  share  and  view  visual  depictions  of  adult
  content,  including  sexually  explicit  images.  In  addition,  Sex.com  contains  picture  &  video
  content,  information  and  other  materials  posted/uploaded  by  users.


  Please  read  carefully  the  following  terms  and  conditions,  ("Terms")  and  our  Privacy  Policy,
  which  may  be  found  at  http://www.sex.com/about/privacy.  These  Terms  govern  your  access  to,
  and  use  of,  the  Site,  Services  and  all  Site  Content  (defined  below),  and  constitute  a  binding
  legal  agreement  between  you  and  Sex.com.

  If  you  do  not  agree  to  the  terms  and  conditions  contained  herein,  then  do  not  use  Sex.com.

  Key  Terms  related  to  Content

  "Content"  refers  to  text,  graphics,  images,  music,  software,  audio,  video,  information  or  other
  materials.


  "Sex.com  Content"  refers  to  all  Content  Sex.com  makes  available  through  the  Site,  Application
  or  Service,  including  any  Content  licensed  from  a  third  party,  but  excluding  Member  Content.

  "Member"  refers  to  a  person  that  completes  Sex.com's  account  registration  process,  as
  described  under  "Account  Registration"  below.


  "Member  Content"  refers  to  all  Content  that  a  Member  posts,  uploads,  publishes,  submits  or
  transmits  to  be  made  available  through  the  Site,  Application  or  Services.

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  "Site  Content"  refers  to  Member  Content  and  Sex.com  Content.

  Certain  areas  of  the  Site  (and  your  access  to  or  use  of  certain  Services  or  Site  Content)  may
  have  different  terms  and  conditions  posted,  or  may  require  you  to  agree  with  and  accept
  additional  terms  and  conditions.  If  there  is  a  conflict  between  these  Terms  and  the  terms  and
  conditions  posted  for  a  specific  area  of  the  Site,  Services  or  Site  Content,  the  latter  terms  and
  conditions  will  take  precedence  with  respect  to  your  use  of  or  access  to  that  area  of  the  Site,
  Services  or  Site  Content.

  YOU  ACKNOWLEDGE  AND  AGREE  THAT  BY  ACCESSING  OR  USING  THE  SITE,
  APPLICATION  OR  SERVICES,  OR  BY  POSTING  ANY  MEMBER  CONTENT  TO  THE  SITE
  OR  THROUGH  THE  SERVICES,  YOU  ARE  INDICATING  THAT  YOU  HAVE  READ,
  UNDERSTAND  AND  AGREE  TO  BE  BOUND  BY  THESE  TERMS,  WHETHER  OR  NOT  YOU
  HAVE  REGISTERED  WITH  THE  SITE.  IF  YOU  DO  NOT  AGREE  TO  THESE  TERMS,  YOU
  HAVE  NO  RIGHT  TO  ACCESS  OR  USE  THE  SITE,  SERVICES  OR  SITE  CONTENT.


  If  you  accept  these  Terms  on  behalf  of  a  company  or  other  legal  entity,  you  represent  and
  warrant  that  you  have  the  authority  to  bind  that  company  or  other  legal  entity  to  these  Terms,
  and  that  "you"  and  "your"  will  hereby  refer  and  apply  to  that  company  or  other  legal  entity.

  Modification

  Sex.com  reserves  the  right,  at  its  sole  discretion,  to  modify,  discontinue  or  terminate  the  Site  or
  Services,  or  to  modify  these  Terms  at  any  time  and  without  prior  notice.  If  we  modify  these
  Terms,  we  will  post  the  modification  on  the  Site  or  through  the  Application  or  provide  you  with
  notice  of  the  modification.  We  will  also  update  the  "Last  Updated  Date"  at  the  top  of  these
  Terms.  By  continuing  to  access  or  use  the  Site  or  Services  after  we  have  posted  a  modification
  on  the  Site,  you  are  indicating  that  you  agree  to  the  modified  Terms.  If  the  modified  Terms  are
  not  acceptable  to  you,  your  only  recourse  is  to  cease  using  the  Site  and  the  Services.

  How  Sex.com  Works

  After  you  have  created  an  Account  (defined  below)  to  become  a  Member  of  Sex.com,  you  may
  use  the  Services  to  create,  view  and  follow  visual  collections.  In  order  to  create  a  visual
  collection,  you  may  (i)  upload  images  from  your  computer  by  selecting  the  "Add  a  Pin"  section

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  of  the  Site,  (ii)  use  the  Application  to  take  and  upload  images,  or  (iii)  install  and  use  our  "Pin  It"
  browser  toolbar  to  upload  images  by  following  the  instructions  provided  on  the  "About"  section
  of  the  Site.  Please  note  that  your  visual  collections  will  be  publicly  viewable  by  all  visitors  to  the
  Site.  In  order  to  follow  the  visual  collections  of  other  Members,  you  may  search  for  other  visual
  collections  via  the  Site  and  select  the  option  to  "Follow"  such  Members.

  Eligibility

  In  order  to  use  Sex.com,  you  affirm  that  you  are  at  least  eighteen  (18)  years  of  age  and/or  of
  legal  required  age  in  the  jurisdiction  you  reside  in  and  from  which  you  access  the  Site.  If  you
  are  under  the  age  of  18,  and/or  under  the  legal  required  age  in  the  jurisdiction  you  reside  in  and
  from  which  you  access  the  Site,  then  you  are  not  permitted  to  use  the  Site.

  Account  Registration

  In  order  to  access  certain  features  of  the  Site  and  Services,  and  to  post  any  Member  Content
  on  the  Site  or  through  the  Services,  you  must  register  to  create  an  account  ("Account").  You
  must  register  with  Sex.com  and  agree  to  provide  accurate,  current  and  complete  information
  during  the  registration  process,  and  to  update  such  information  to  keep  it  accurate,  current  and
  complete.  Sex.com  reserves  the  right  to  suspend  or  terminate  your  Account  if  any  information
  provided  during  the  registration  process  or  thereafter  proves  to  be  inaccurate,  not  current  or
  incomplete.  You  are  responsible  for  safeguarding  your  password.  You  agree  not  to  disclose
  your  password  to  any  third  party,  and  to  take  sole  responsibility  for  any  activities  or  actions
  under  your  Account,  whether  or  not  you  have  authorized  such  activities  or  actions.  You  will
  immediately  notify  Sex.com  of  any  unauthorized  use  of  your  Account.

  Privacy

  See  our  Privacy  Policy  at  http://www.sex.com/about/privacy  for  information  and  notices
  concerning  Sex.com'  collection  and  use  of  your  personal  information.

  Ownership

  The  Site,  Services  and  Site  Content  are  protected  by  copyright,  trademark,  and  other  laws  of
  the  United  States  and  foreign  countries.  Except  as  expressly  provided  in  these  Terms,  Sex.com
  and  its  licensors  exclusively  own  all  right,  title  and  interest  in  and  to  the  Site,  Services  and  Site

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  Content,  including  all  associated  intellectual  property  rights.  You  will  not  remove,  alter  or
  obscure  any  copyright,  trademark,  service  mark  or  other  proprietary  rights  notices  incorporated
  in  or  accompanying  the  Site,  Services  or  Site  Content.

  Sex.com  Content  and  Member  Content  License

  Subject  to  your  compliance  with  the  terms  and  conditions  of  these  Terms,  Sex.com  grants  you
  a  limited,  non-­exclusive,  non-­transferable  license,  without  the  right  to  sublicense,  to  access  and
  view  any  Member  Content  solely  for  your  personal  or  business  purposes  as  expressly  permitted
  in  these  Terms.  You  will  not  use,  copy,  adapt,  modify,  prepare  derivative  works  based  upon,
  distribute,  license,  sell,  transfer,  publicly  display,  publicly  perform,  transmit,  stream,  broadcast
  or  otherwise  exploit  the  Site,  Services,  or  Site  Content  except  as  expressly  permitted  in  these
  Terms.  No  licenses  or  rights  are  granted  to  you  by  implication  or  otherwise  under  any
  intellectual  property  rights  owned  or  controlled  by  Sex.com  or  its  licensors,  except  for  the
  licenses  and  rights  expressly  granted  in  these  Terms.

  Member  Content

  We  may,  in  our  sole  discretion,  permit  Members  to  post,  upload,  publish,  submit  or  transmit
  Member  Content.  By  making  available  any  Member  Content  through  the  Site  or  Services,  you
  hereby  grant  to  Sex.com  a  worldwide,  irrevocable,  perpetual,  non-­exclusive,  transferable,
  royalty-­free  license,  with  the  right  to  sublicense,  to  use,  copy,  adapt,  modify,  distribute,  license,
  sell,  transfer,  publicly  display,  publicly  perform,  transmit,  stream,  broadcast,  access,  view,  and
  otherwise  exploit  such  Member  Content  only  on,  through  or  by  means  of  the  Site  or  Services.
  Sex.com  does  not  claim  any  ownership  rights  in  any  such  Member  Content,  and  nothing  in
  these  Terms  will  be  deemed  to  restrict  any  rights  that  you  may  have  to  use  and  exploit  any
  such  Member  Content.


  You  acknowledge  and  agree  that  you  are  solely  responsible  for  all  Member  Content  that  you
  make  available  through  the  Site  and  Services.  Accordingly,  you  represent  and  warrant  that:  (i)
  you  either  are  the  sole  and  exclusive  owner  of  all  Member  Content  that  you  make  available
  through  the  Site  and  Services  or  you  have  all  rights,  licenses,  consents  and  releases  that  are
  necessary  to  grant  to  Sex.com  the  rights  in  such  Member  Content,  as  contemplated  under
  these  Terms;;  and  (ii)  neither  the  Member  Content  nor  your  posting,  uploading,  publication,

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  submission  or  transmittal  of  the  Member  Content  or  Sex.com's  use  of  the  Member  Content  (or
  any  portion  thereof)  on,  through  or  by  means  of  the  Site  and  the  Services  will  infringe,
  misappropriate  or  violate  a  third  party's  patent,  copyright,  trademark,  trade  secret,  moral  rights
  or  other  proprietary  or  intellectual  property  rights,  or  rights  of  publicity  or  privacy,  or  result  in  the
  violation  of  any  applicable  law  or  regulation.

  You  shall  be  solely  responsible  for  any  and  all  of  your  own  Member  Content  and  the
  consequences  of  posting,  uploading  and  publishing  them.  Furthermore,  with  Member  Content,
  you  affirm,  represent  and/or  warrant  that  you  own  or  retain  the  necessary  licenses,  rights,
  consents,  and  permissions  to  use  and  authorize  Sex.com  to  use  all  trademarks,  copyrights,
  trade  secrets,  patents,  or  other  proprietary  rights  in  and  to  any  and  all  Member  Content  to
  enable  inclusion  and  use  of  the  Member  Content  in  the  manner  contemplated  by  the  Site  and
  these  Terms.

  You  agree  that  you  will  not  post,  or  allow  anyone  else  to  post,  any  Member  Content  that  depicts
  any  person  under  the  age  of  18  years,  and  that  you  have  inspected  and  are  maintaining  written
  documentation  sufficient  to  confirm  that  all  subjects  are,  in  fact,  over  the  age  of  18  years.  You
  have  the  written  consent,  release,  and/or  permission  of  each  and  every  identifiable  individual
  person  in  the  Member  Content  to  use  the  name  or  likeness  of  each  and  every  such  identifiable
  individual  person  to  enable  inclusion  and  use  of  the  Member  Content  in  the  manner
  contemplated  by  the  Site  and  these  Terms.

  You  agree  that  you  will  not  (nor  others  using  your  account)  post,  upload,  publish,  transmit  or
  make  available  in  any  way  on  Sex.com  content  which  is  illegal,  unlawful,  harassing,  harmful,
  threatening,  tortuous,  abusive,  defamatory,  obscene,  illegal,  unlawful,  libelous  or  invasive  of
  one's  privacy,  including  but  not  limited  to,  personal  information  or  hateful  or  racial  speech.  You
  also  agree  that  you  shall  not  post,  upload,  publish,  transmit  or  make  available  in  any  way  on
  Sex.com  software  containing  viruses  or  any  other  computer  code,  files,  or  programs  designed
  to  destroy,  interrupt,  limit  the  functionality  of,  monitor,  or  persistently  reside  in  or  on  any
  computer  software  or  hardware  or  telecommunications  equipment.  You  agree  that  you  shall  not
  (nor  others  using  your  account)  post,  upload,  publish,  transmit  or  make  available  in  any  way  on
  Sex.com  content  which  is  intentionally  or  unintentionally  violating  any  applicable  local,  state,
  national,  or  international  law,  or  any  regulations  or  laws  having  the  force  of  law  where  you

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  reside  and  elsewhere,  including  but  not  limited  to  any  laws  or  regulations  relating  to  securities,
  privacy,  and  export  contro.  You  agree  that  you  shall  not  (nor  others  using  your  account)  post,
  upload,  publish,  transmit  or  make  available  in  any  way  on  Sex.com  content  depicting  illegal
  activities,  promote  or  depict  physical  harm  or  injury  against  any  group  or  individual,  or  promote
  or  depict  any  act  of  cruelty  to  animals;;  You  agree  not  to  use  Sex.com  in  any  way  that  exposes
  Sex.com  to  criminal  or  civil  liability.

  You  agree  that  Sex.com  may  at  its  sole  discretion  have  the  right  to  refuse  to  publish,  remove,
  or  block  access  to  any  Member  Content  that  is  available  via  the  Site  or  Services  at  any  time,  for
  any  reason,  or  for  no  reason  at  all,  with  or  without  notice.


  You  agree  that  Sex.com  shall  have  the  right  to  determine  in  its  sole  and  unfettered  discretion,
  what  action  shall  be  taken  in  the  event  of  any  discovered  or  reported  violation  of  the  Terms
  contained  herein.

  Feedback

  We  welcome  and  encourage  you  to  provide  feedback,  comments  and  suggestions  for
  improvements  to  the  Site  and  Services  ("Feedback").  You  may  submit  Feedback  by  emailing  us
  at:




  You  acknowledge  and  agree  that  all  Feedback  will  be  the  sole  and  exclusive  property  of
  Sex.com  and  you  hereby  irrevocably  assign  to  Sex.com  and  agree  to  irrevocably  assign  to
  Sex.com  all  of  your  rights,  titles,  and  interest  in  and  to  all  Feedback,  including,  without
  limitation,  all  worldwide  patents,  copyrights,  trade  secret,  trademarks,  moral  rights  and  other
  proprietary  or  intellectual  property  rights  therein.  At  Sex.com's  request  and  expense,  you  will
  execute  documents  and  take  such  further  acts  as  Sex.com  may  reasonably  request  to  assist
  Sex.com  to  acquire,  perfect,  and  maintain  its  intellectual  property  rights  and  other  legal
  protections  for  the  Feedback.

  General  Prohibitions

  You  agree  not  to  do  any  of  the  following:


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                Post,  upload,  publish,  submit,  provide  access  to  or  transmit  any  Content  that:  (i)
                infringes,  misappropriates  or  violates  a  third  party's  patent,  copyright,  trademark,
                trade  secret,  moral  rights  or  other  intellectual  property  rights,  or  rights  of  publicity  or
                privacy;;  (ii)  violates,  or  encourages  any  conduct  that  would  violate,  any  applicable  law
                or  regulation  or  would  give  rise  to  civil  liability;;  (iii)  is  fraudulent,  false,  misleading  or
                deceptive;;  (iv)  is  defamatory,  obscene,  vulgar  or  offensive;;  (v)  promotes
                discrimination,  bigotry,  racism,  hatred,  harassment  or  harm  against  any  individual  or
                group;;  (vi)  is  violent  or  threatening  or  promotes  violence  or  actions  that  are
                threatening  to  any  other  person;;  or  (vii)  promotes  illegal  or  harmful  activities  or
                substances.

                Use,  display,  mirror  or  frame  the  Site  or  any  individual  element  within  the  Site  or
                Application,  the  Sex.com  name,  any  Sex.com  trademark,  logo  or  other  proprietary
                information,  or  the  layout  and  design  of  any  page  or  form  contained  on  a  page,
                without  our  express  written  consent;;

                Access,  tamper  with,  or  use  non-­public  areas  of  the  Site,  our  computer  systems,  or
                the  technical  delivery  systems  of  our  providers;;

                Attempt  to  probe,  scan,  or  test  the  vulnerability  of  any  Sex.com  system  or  network,  or
                breach  any  security  or  authentication  measures;;

                Avoid,  bypass,  remove,  deactivate,  impair,  descramble  or  otherwise  circumvent  any
                technological  measure  implemented  by  Sex.com  or  any  of  our  providers  or  any  other
                third  party  (including  another  user)  to  protect  the  Site,  or  Site  Content;;

                Attempt  to  access  or  search  the  Site,  Site  Content  or  download  Site  Content  from  the
                Site  through  the  use  of  any  engine,  software,  tool,  agent,  device  or  mechanism
                (including  spiders,  robots,  crawlers,  data  mining  tools  or  the  like)  other  than  the
                software  and/or  search  agents  provided  by  Sex.com  or  other  generally  available  third
                party  web  browsers;;

                Send  any  unsolicited  or  unauthorized  advertising,  promotional  materials,  email,  junk
                mail,  spam,  chain  letters  or  other  form  of  solicitation;;

                Use  any  meta  tags  or  other  hidden  text  or  metadata  utilizing  a  Sex.com  or  Sex.com
                trademark,  logo  URL  or  product  name  without  Sex.com'  express  written  consent;;
data:text/html;;charset=utf-­8,%3Ch1%20style%3D%22box-­sizing%3A%20border-­box%3B%20font-­size%3A%2038px%3B%20margin%3A%2020px%200px%…   7/15
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                Use  the  Site  or  Site  Content  for  any  commercial  purpose  or  the  benefit  of  any  third
                party  or  in  any  manner  not  permitted  by  these  Terms;;

                Forge  any  TCP/IP  packet  header  or  any  part  of  the  header  information  in  any  email  or
                newsgroup  posting,  or  in  any  way  use  the  Site  or  Site  Content  to  send  altered,
                deceptive  or  false  source-­identifying  information;;

                Attempt  to  decipher,  decompile,  disassemble  or  reverse  engineer  any  of  the  software
                used  to  provide  the  Site  or  Site  Content.

                Interfere  with,  or  attempt  to  interfere  with,  the  access  of  any  user,  host  or  network,
                including,  without  limitation,  sending  a  virus,  overloading,  flooding,  spamming,  or
                mail-­bombing  the  Site;;

                Collect  or  store  any  personally  identifiable  information  from  the  Site  from  other  users
                of  the  Site  without  their  express  permission;;

                Impersonate  or  misrepresent  your  affiliation  with  any  person  or  entity;;

                Violate  any  applicable  law  or  regulation;;  or

                Encourage  or  enable  any  other  individual  to  do  any  of  the  aformentioned.

  Sex.com  will  have  the  right  to  investigate  and  prosecute  violations  of  any  of  the  above  to  the
  fullest  extent  of  the  law.  Sex.com  may  involve  and  cooperate  with  law  enforcement  authorities
  in  prosecuting  users  who  violate  these  Terms.  You  acknowledge  that  Sex.com  has  no
  obligation  to  monitor  your  access  to,  or  use  of  the  Site,  Services  or  Site  Content,  or  to  review  or
  edit  any  Site  Content,  but  has  the  right  to  do  so  for  the  purpose  of  operating  the  Site  and
  Services  to  ensure  your  compliance  with  these  Terms,  or  to  comply  with  applicable  law  or  the
  order  or  requirement  of  a  court,  administrative  agency  or  other  governmental  body.  Sex.com
  reserves  the  right,  at  any  time  and  without  prior  notice  to  remove  or  disable  access  to  any  Site
  Content  that  Sex.com,  at  its  sole  discretion,  considers  to  be  objectionable  for  any  reason,  in
  violation  of  these  Terms  or  otherwise  harmful  to  the  Site  or  Services.

  General  Policy

  Sex.com  abides  by  a  ZERO  TOLERANCE  policy  relating  to  any  illegal  content.  Child
  pornography,  bestiality,  rape,  torture,  snuff,  death  and/or  any  other  type  of  obscene  and/or

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  illegal  material  will  not  be  tolerated  by  Sex.com.  Sex.com  will  report  and  cooperate  with  all
  governmental  agencies  that  seek  those  who  produce  child  pornography.

  Copyright  Policy

  Sex.com  adheres  to  copyright  law  and  expects  its  users  to  do  the  same.  Sex.com  has  adopted
  and  implemented  a  policy  that  provides  for  the  termination,  in  appropriate  circumstances,  of
  registered  users  or  other  account  holders  who  repeatedly  infringe  or  are  believed  to  be
  repeatedly  infringing  the  rights  of  copyright  holders.  Please  see  Sex.com's  Copyright  Policy
  at:http://www.sex.com/about/dmca  for  further  information.

  Links

  The  Site  and  Application  may  contain  links  to  third-­party  websites  or  resources.  You
  acknowledge  and  agree  that  Sex.com  is  not  responsible  or  liable  for:  (i)  the  availability  or
  accuracy  of  such  websites  or  resources;;  or  (ii)  the  content,  products,  or  services  on  or  available
  from  such  websites  or  resources.  Links  to  such  websites  or  resources  do  not  imply  any
  endorsement  by  Sex.com  of  such  websites  or  resources  or  the  content,  products,  or  services
  available  from  such  websites  or  resources.  You  acknowledge  sole  responsibility  for  and
  assume  all  risk  arising  from  your  use  of  any  such  websites  or  resources.

  Embeddable  Content

  Sex.com  grants  you  a  limited,  non-­exclusive,  revocable,  non-­transferable  license,  without  the
  right  to  sublicense,  to  display  the  Site  Content  available  through  the  embeddable  function  or
  inline  linking  on  an  commercial  blog,  website  or  other  product  or  service.  No  licenses  or  rights
  are  granted  to  you  by  implication  or  otherwise  under  any  intellectual  property  rights  owned  or
  controlled  by  Sex.com  or  its  licensors,  except  for  the  licenses  and  rights  expressly  granted  in
  the  embeddable  terms.

  You  may  not  to  interfere  with,  damage,  disable,  overburden,  impair,  destroy,  limit  the
  functionality  of  or  disrupt  the  Site  or  Services  or  servers  or  networks  connected  to  the  Services,
  or  disobey  any  requirements,  procedures,  policies  of  networks  connected  to  the  Services;;  or
  intentionally  or  unintentionally  violate  any  applicable  local,  state,  national  or  international  law,
  rule  or  regulations.  Sex.com  reserves  the  right  to  block  any  website/IP  using  the  embeddable

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  function  at  any  time  without  prior  notice.

  Sex.com  reserve  the  right,  for  any  reason,  at  our  sole  discretion,  to  add,  change,  suspend,
  modify,  delete  or  discontinue  any  aspect  of  the  embeddable  function  at  any  time  without  prior
  notice.

  API  Terms  of  Use

  By  using  the  Sex.com  API,  you  agree  to  the  terms  below.  If  you  disagree  with  any  of  these
  terms,  do  not  use  the  API!  We  reserve  the  right  to  update  and  change  these  terms  from  time  to
  time  without  notice.  We  may  terminate  the  license  by  discontinuing  use  of  all  or  any  of  its
  function  at  any  time  and  for  any  reason.  Your  rights  to  use  the  API  terminate  automatically  if  (1)
  you  violate  any  of  these  terms,  (2)  we  send  you  a  written  notice  of  termination  ,  or  (3)  we
  disables  your  access  to  the  API.  The  API  is  provided  "as  is"  with  no  warranty,  express  or
  implied,  of  any  kind.

  The  API  is  licensed  to  you  on  a  non-­exclusive  basis  on  the  terms  and  conditions  set  forth
  herein.  These  terms  define  legal  use  of  the  API,  including  all  updates,  revisions  and  any  copies
  of  the  API  content  made  by  you.  Sex.com  user  photos  and  videos  ("User  Content")  are  owned
  by  the  users  and  not  by  Sex.com.  All  rights  not  expressly  granted  to  you  are  reserved  by
  Sex.com.

  1.  You  shall:
                Comply  with  the  general  Sex.com  Terms  of  Use.

                Remove  from  your  site  or  application  within  24  hours  any  User  Content  or  other
                information  that  the  owner  asks  you  to  remove.

                Disclose  on  your  site  or  application  through  a  privacy  policy,  how  you  collect,  store,
                use  and  disclose  data  collected  from  visitors.  This  include,  when  applicable,  that  third
                parties  may  serve  advertisements  and/or  collect  information  directly  from  visitors,
                place  or  read  cookies  on  visitors'  browsers.

  2.  You  shall  not:
                Use  the  API  to  spam  Sex.com.

                Use  the  API  to  incentivize  or  harass  users.
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                Display  more  than  75  Sex.com  photos  or  videos  per  page  on  your  site  or  application
                or  use  an  unreasonable  amount  of  bandwidth.

                Cache  or  store  any  User  Content  other  than  for  reasonable  periods  in  order  to
                provide  the  service  you  are  providing.

                Use  the  API  for  any  site  or  application  that  constitutes,  promotes  or  is  used  in
                connection  with  spyware,  adware,  or  any  other  malicious  programs  or  code.

                Participate  in  any  "like",  "share",  "comment",  or  "follower"  scam  or  exchange
                programs.

                Use  the  API  in  a  manner  that  adversely  impacts  the  stability  of  Sex.com  servers.  We
                reserve  the  right  to  limit  or  block  your  site  or  applications  to  the  API  at  any  time  and
                for  any  reason.

  Termination  and  Account  Cancellation

  If  you  breach  any  of  these  Terms,  Sex.com  will  have  the  right  to  suspend  or  disable  your
  Account  or  terminate  these  Terms  at  its  sole  discretion  and  without  prior  notice  to  you.  Sex.com
  reserves  the  right  to  revoke  your  access  to  and  use  of  the  Site,  Services  and  Content  at  any
  time,  with  or  without  cause.  You  may  cancel  your  Account  at  any  time  by  sending  an  email  to:




  Disclaimers

  THE  SITE,  APPLICATION,  SERVICES  AND  SITE  CONTENT  ARE  PROVIDED  "AS  IS",
  WITHOUT  WARRANTY  OF  ANY  KIND,  EITHER  EXPRESSED  OR  IMPLIED.  WITHOUT
  LIMITING  THE  FOREGOING,  SEX.COM  EXPLICITLY  DISCLAIMS  ANY  WARRANTIES  OF
  MERCHANTABILITY,  FITNESS  FOR  A  PARTICULAR  PURPOSE,  QUIET  ENJOYMENT  OR
  NON-­INFRINGEMENT,  AND  ANY  WARRANTIES  ARISING  OUT  OF  COURSE  OF  DEALING
  OR  USAGE  OF  TRADE.  SEX.COM  MAKES  NO  WARRANTY  THAT  THE  SITE,  SERVICES
  OR  SITE  CONTENT  WILL  MEET  YOUR  REQUIREMENTS,  OR  BE  AVAILABLE  ON  AN
  UNINTERRUPTED,  SECURE,  OR  ERROR-­FREE  BASIS.  SEX.COM  MAKES  NO  WARRANTY
  REGARDING  THE  QUALITY  OF  ANY  PRODUCTS,  SERVICE  OR  SITE  CONTENT
  OBTAINED  THROUGH  THE  SITE,  APPLICATION  OR  SERVICES  OR  THE  ACCURACY,

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  TIMELINESS,  TRUTHFULNESS,  COMPLETENESS  OR  RELIABILITY  OF  ANY  SITE
  CONTENT  OBTAINED  THROUGH  THE  SITE  OR  SERVICES.

  ADVICE  OR  INFORMATION,  WHETHER  ORAL  OR  WRITTEN,  OBTAINED  FROM  SEX.COM
  OR  THROUGH  THE  SITE,  SERVICES,  CONTENT  OR  MEMBER  CONTENT,  WILL  CREATE
  ANY  WARRANTY  NOT  EXPRESSLY  MADE  HEREIN.

  YOU  ARE  SOLELY  RESPONSIBLE  FOR  ALL  OF  YOUR  COMMUNICATIONS  AND
  INTERACTIONS  WITH  OTHER  USERS  OF  THE  SITE  OR  SERVICES  AND  WITH  OTHER
  PERSONS  WITH  WHOM  YOU  COMMUNICATE  OR  INTERACT  AS  A  RESULT  OF  YOUR
  USE  OF  THE  SITE  OR  SERVICES.  YOU  UNDERSTAND  THAT  SEX.COM  DOES  NOT
  SCREEN  OR  INQUIRE  INTO  THE  BACKGROUND  OF  ANY  USERS  OF  THE  SITE  OR
  SERVICES,  NOR  DOES  SEX.COM  MAKE  ANY  ATTEMPT  TO  VERIFY  THE  STATEMENTS
  OF  USERS  OF  THE  SITE  OR  SERVICES.  SEX.COM  MAKES  NO  REPRESENTATIONS  OR
  WARRANTIES  AS  TO  THE  CONDUCT  OF  USERS  OF  THE  SITE  OR  SERVICES  OR  THEIR
  COMPATIBILITY  WITH  ANY  CURRENT  OR  FUTURE  USERS  OF  THE  SITE  OR  SERVICES.
  YOU  AGREE  TO  TAKE  REASONABLE  PRECAUTIONS  IN  ALL  COMMUNICATIONS  AND
  INTERACTIONS  WITH  OTHER  USERS  OF  THE  SITE  OR  SERVICES  AND  WITH  OTHER
  PERSONS  WITH  WHOM  YOU  COMMUNICATE  OR  INTERACT  AS  A  RESULT  OF  YOUR
  USE  OF  THE  SITE  OR  SERVICES,  PARTICULARLY  IF  YOU  DECIDE  TO  MEET  OFFLINE
  OR  IN  PERSON.

  Indemnity

  You  agree  to  defend,  indemnify,  and  hold  Sex.com,  its  officers,  directors,  employees  and
  agents,  harmless  from  and  against  any  claims,  liabilities,  damages,  losses,  and  expenses,
  including,  without  limitation,  reasonable  legal  and  accounting  fees,  arising  out  of  or  in  any  way
  connected  with  (i)  your  access  to  or  use  of  the  Site,  Services  or  Site  Content,  (ii)  your  Member
  Content,  or  (iii)  your  violation  of  these  Terms.

  Limitation  of  Liability

  YOU  ACKNOWLEDGE  AND  AGREE  THAT  TO  THE  MAXIMUM  EXTENT  PERMITTED  BY
  LAW,  THE  ENTIRE  RISK  ARISING  OUT  OF  YOUR  ACCESS  TO  AND  USE  OF  THE  SITE,
  SERVICES  AND  SITE  CONTENT  REMAINS  WITH  YOU.  NEITHER  SEX.COM  NOR  ANY
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  OTHER  PARTY  INVOLVED  IN  CREATING,  PRODUCING,  OR  DELIVERING  THE  SITE,
  SERVICES  OR  CONTENT  WILL  BE  LIABLE  FOR  ANY  INCIDENTAL,  SPECIAL,  EXEMPLARY
  OR  CONSEQUENTIAL  DAMAGES,  INCLUDING  LOST  PROFITS,  LOSS  OF  DATA  OR  LOSS
  OF  GOODWILL,  SERVICE  INTERRUPTION,  COMPUTER  DAMAGE  OR  SYSTEM  FAILURE
  OR  THE  COST  OF  SUBSTITUTE  PRODUCTS  OR  SERVICES,  OR  FOR  ANY  DAMAGES
  FOR  PERSONAL  OR  BODILY  INJURY  OR  EMOTIONAL  DISTRESS  ARISING  OUT  OF  OR  IN
  CONNECTION  WITH  THESE  TERMS  OR  FROM  THE  USE  OF  OR  INABILITY  TO  USE  THE
  SITE,  SERVICES,  SITE  CONTENT  ,  OR  FROM  ANY  COMMUNICATIONS,  INTERACTIONS
  OR  MEETINGS  WITH  OTHER  USERS  OF  THE  SITE  OR  SERVICES  OR  OTHER  PERSONS
  WITH  WHOM  YOU  COMMUNICATE  OR  INTERACT  AS  A  RESULT  OF  YOUR  USE  OF  THE
  SITE  OR  SERVICES,  WHETHER  BASED  ON  WARRANTY,  CONTRACT,  TORT  (INCLUDING
  NEGLIGENCE),  PRODUCT  LIABILITY  OR  ANY  OTHER  LEGAL  THEORY,  AND  WHETHER
  OR  NOT  SEX.COM  HAS  BEEN  INFORMED  OF  THE  POSSIBILITY  OF  SUCH  DAMAGE,
  EVEN  IF  A  LIMITED  REMEDY  SET  FORTH  HEREIN  IS  FOUND  TO  HAVE  FAILED  OF  ITS
  ESSENTIAL  PURPOSE.

  IN  NO  EVENT  WILL  SEX.COM'  AGGREGATE  LIABILITY  ARISING  OUT  OF,  OR  IN
  CONNECTION  WITH  THESE  TERMS  OR  FROM  THE  USE  OF  OR  INABILITY  TO  USE  THE
  SITE,  SERVICES  OR  SITE  CONTENT  EXCEED  ONE  HUNDRED  DOLLARS  ($100).

  Proprietary  Rights  Notices

  All  trademarks,  service  marks,  logos,  trade  names  and  any  other  proprietary  designations  of
  Sex.com  used  herein  are  trademarks  or  registered  trademarks  of  Sex.com.  Any  other
  trademarks,  service  marks,  logos,  trade  names  and  any  other  proprietary  designations  are  the
  trademarks  or  registered  trademarks  of  their  respective  parties.

  Controlling  Law  and  Jurisdiction

  These  Terms  and  any  action  related  thereto  will  be  governed  by  the  laws  of  Quebec,  Canada
  without  regard  to  its  conflict  of  laws  provisions.  The  exclusive  jurisdiction  and  venue  of  any
  action  with  respect  to  the  subject  matter  of  these  Terms  will  be  the  state  and  federal  courts
  located  in  the  District  of  Quebec,  Canada  and  each  of  the  parties  hereto  waives  any  objection
  to  jurisdiction  and  venue  in  such  courts.

  Entire  Agreement
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  Entire  Agreement

  These  Terms  constitute  the  entire  and  exclusive  understanding  and  agreement  between
  Sex.com  and  you  regarding  the  Site,  Services,  Site  Content,  and  Member  Content  and  these
  Terms  supersede  and  replace  any  and  all  prior  oral  or  written  understandings  or  agreements
  between  Sex.com  and  you  regarding  the  Site,  Services  and  Content.

  Assignment

  You  may  not  assign  or  transfer  these  Terms,  by  operation  of  law  or  otherwise,  without
  Sex.com's  prior  written  consent.  Any  attempt  by  you  to  assign  or  transfer  these  Terms,  without
  such  consent,  will  be  null  and  of  no  effect.  Sex.com  may  assign  or  transfer  these  Terms,  at  its
  sole  discretion,  without  restriction.  Subject  to  the  foregoing,  these  Terms  will  bind  and  inure  to
  the  benefit  of  the  parties,  their  successors  and  permitted  assigns.

  Notices

  Any  notices  or  other  communications  permitted  or  required  hereafter,  including  those  regarding
  modifications  to  these  Terms,  will  be  in  writing  and  given  by  Sex.com  (i)  via  email  (in  each  case
  to  the  address  that  you  provide)  or  (ii)  by  posting  to  the  Site.  For  notices  made  by  e-­mail,  the
  date  of  receipt  will  be  deemed  the  date  on  which  such  notice  is  transmitted.

  General

  The  failure  of  Sex.com  to  enforce  any  right  or  provision  of  these  Terms  will  not  constitute  a
  waiver  of  future  enforcement  of  that  right  or  provision.  The  waiver  of  any  such  right  or  provision
  will  be  effective  only  if  in  writing  and  signed  by  a  duly  authorized  representative  of  Sex.com.
  Except  as  expressly  set  forth  in  these  Terms,  the  exercise  by  either  party  of  any  of  its  remedies
  under  these  Terms  will  be  without  prejudice  to  its  other  remedies  under  these  Terms  or
  otherwise.  If  for  any  reason  a  court  of  competent  jurisdiction  finds  any  provision  of  these  Terms
  invalid  or  unenforceable,  that  provision  will  be  enforced  to  the  maximum  extent  permissible  and
  the  other  provisions  of  these  Terms  will  remain  in  full  force  and  effect.

  Contacting  Sex.com

  If  you  have  any  questions  about  these  Terms  or  any  questions,  complaints  or  claims,  please


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  contact  us  at:




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                                 Exhibit
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